 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Civil No. 1:12CV1349

UNITED STATES OF AMERICA,

 

Plaintiff,
vs.
TERRY S. JOHNSON, in his
official capacity as ALAMANCE

COUNTY SHERIFF,

Defendant.

 

DEPOSITION
OF
BOBBY RAY CULLER, UR.

 

Graham, North Carolina
September 12, 2013
2:55 p.m.

Reported by:
Rebecca P. Scott

 

 

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A. Oh, sure. From '83 to 2000, I was a trooper on

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the road in Alamance County. In 2000 I was
promoted to line sergeant. I was sent to
Wilkesboro - Wilkes County so that consisted of
Wilkes, Ashe, and Alleghany Counties. Then I came
back to - transferred back home to Person and
Caswell County in 2001.

I stayed there until 2000 - when I got
promoted to first sergeant in 2005 - to first
sergeant - and I was placed in the Highway Patrol
Armory, which was overseeing the whole firearms
program for the North Carolina Highway Patrol. I
stayed there for five months, and then I was - the
colonel called me and asked me to work in Internal
Affairs because of my record. I didn't have one.

So I worked in Internal Affairs for a year
investigating complaints against personnel,
serious allegations and nonserious allegations but
complaints. After that I returned home to
Alamance County as a first sergeant, and that
was - I'm trying to remember what year that was.
It may have been 2006 - sometime in 2006.

And I stayed here until 2008 and got promoted
to lieutenant and sent to Hickory. I went back to

the foothills again, and I stayed there for four

 

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A.

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0 PrP OO

We've had a few in Green Level, mostly rear-end
collisions, but the data was showing that seat
belt usage was not really compliant. If I'm not
mistaken, the one where - there was a lot of
agencies involved in the one I'm thinking about.
I don't think - I don't think that we put that one
on, but usually when we worked that area, that's
what it's pertaining to.

I can't remember if I put it on or the
Sheriff's Department or Haw River Police. It
could have been one of us three that actually
initiated the project.

At any of the checkpoints, have you ever heard
Sheriff Johnson say, "If anybody is stopped - if
anybody is stopped that's Hispanic, don't write a
citation. Bring them to jail"?

Do what now? Could you repeat that?

Yes.

Okay.

Have you ever heard Sheriff Johnson say, "If
anybody is stopped that's Hispanic, don't write a
citation. Bring them to jail"?

No, Sir. The Highway Patrol - we operate on our
own accord. We don't answer to the sheriff or the

chief of police. The Highway Patrol is the

 

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Highway Patrol. We do our own actions. I've
never heard Terry Johnson say anything like that
pertaining to an arrest of any particular person
or---

Do you know who Roger Lloyd is?

He's a - I've known him for years. He's a deputy.
He was a deputy here, I believe.

Did he ever instruct you to arrest violators at
checkpoints instead of issuing citations?

No, sir. No, sir.

Did Roger Lloyd ever contact one of your
supervisors to order you to make arrests at a
checkpoint instead of writing citations?

No, sir. If it's the one I'm thinking about, I
was present there. I ran my people. I supervised
my personnel. If they had an issue, I dealt with
it.

And you were first sergeant?

Yes, sir.

So there was no sergeant above you. You were
the---

No, sir. I was the acting commander at that - for
my agency.

Who would you have reported to?

Would have been my lieutenant, Doug Monroe, which

 

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at the time he was in Greensboro. He didn't even
know about the checkpoint, you know, because we do
all these things without their permission. We
make the decision to work with other agencies in
checkpoints.

Q. Is it fair to say the first sergeant basically
runs the operations of the Highway Patrol ona
local level?

A. That's correct.

Q. Do you recall at any time Roger Lloyd calling you
and asking you to order one of your patrolmen to
arrest people for not having an operator's license
instead of issuing a citation?

A. No, sir. He's asking me for somebody to issue a
citation---

QO. To arrest someone---

A. To arrest them? No, sir.

Q. Do you have any idea how many checkpoints you may
have worked with the Alamance County Sheriff's
Department when you were assigned here?

A. Several. Several checkpoints. I mean, you know,
1£ you're talking about a large group of officers
involving other agencies, we had a bunch of those,

especially the nighttime DWI projects during the

 

Governor's Highway Safety Program. But, you know,

 

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most of the time, it was three or four officers
doing some of these side road checks on some of
the roads that were having issues with collisions.

But, no, sir, I - I mean I think that we had
several with the departments - not just the
Sheriff's Department but Burlington Police, Graham
Police, Haw River, I mean, Gibsonville, Elon. I
mean we always worked very well with other
agencies when I was here. I'm not so sure what's
going on now, but we had a good rapport and a good
bond as far as enforcing the laws.

Q. When you were working with the Sheriff's
Department or working at the same checkpoints, did
you ever observe any sheriff's deputies racially
profiling any individuals at checkpoints?

A. No, sir. The things that I saw were people
arresting people or writing citations for
violations of law. I never saw anyone make any -
heard anyone make any comments or see anyone doing
anything out of the ordinary. This was just an
ordinary type of checkpoint for us.

Q. And that would have been both the smaller
checkpoints you were talking about and the big
multiagency checkpoints?

A. Yes, sir.

 

 

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Q. Do you know Terry Johnson?

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Yes, sir. I've known him since he was - he used
to break the law. He would speed up and down the
road when he was an SBI agent undercover going
after drug dealers, and I would stop him out here
when the interstate was only four lanes and there
was a median crossover. And he would drive
different cars all the time, and every time that
I'd stop - you know, it wasn't many times - maybe
three times in my 17 years.

But, you know, one time he was going to
Greensboro to a drug deal, you know, and he was
always undercover. But that's - that's the times
I remember, you know, dealing with him as far as
on the SBI level, but I've known him since I've
been here in Alamance County in 1983.

Have you known Sheriff Johnson to ever racially
discriminate against anyone?

No, sir. I find that - I find that offensive.

In what way?

I just think that anyone that deals with that
outside - other than dealing with the law
specifically, is wrong, and I don't condone any of
that.

Have you ever known Sheriff Johnson to racially

 

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profile any individuals?

A. No, sir.

MR. KITCHEN: Give us just a second.

(Pause. )

MR. KITCHEN: Okay. We don't have any
other questions.

MR. SONGER: Okay. Great. Mr. Culler,
just a couple real quick clarifications, and
then we'll get you out of here.

THE WITNESS: Yes, sir.

CROSS -EXAMINATION

BY MR. SONGER:

Q. You mentioned there seemed to be one of these big
multiagency checkpoints that you worked on with
the Alamance County Sheriff's Office that sort of
stood out to you that you remember, is that right?

A. Right. Right.

Q. Tell me about that. What do you remember about
that?

A. I just remember all - all the agencies were asked
to do a - it's called a jurisdictional
understanding, a memorandum where they all -
multiagency participation memorandum for everybody
to help out outside their jurisdiction, and

everyone signs that memorandum. It's a memo of

 

 

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agreement.

And I can remember that there were several
agencies there that day. Elon College, Elon
Police, Sheriff's Department, Gibsonville Police -
I'm trying to remember them all - but, you know,
Haw River Police, Burlington, Graham. I mean we
just have a great relationship here in Alamance
County - or during 2008 where just everyone
participated. And that one just sticks out for me
because I think everyone had somebody there from
their agency.

Q. Do you remember who from the Sheriff's Office
participated in that checkpoint?

A. No, sir.

Q. Do you remember anybody who was there
specifically?

A. I do remember Roger Lloyd being there. He was
over the - I think he was over the Traffic Squad
then because I think they had, like, two or three
cars or something, but he was operational over
that - in that area.

Q. Do you - when did you show up at that checkpoint?

A. I'm - normally when it starts, I'm there.

Q. Do you remember being there for a briefing given

by Sheriff Johnson prior to the checkpoint?

 

 

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A. No, sir, not particularly.
out.
Q. When you worked checkpoints

Office and other agencies,

focused on supervising the

I usually give them

with the Sheriff's
usually you just

Highway Patrol officers

who were there?

A. Well, no, not specifically. I mean that's my job

as far as dealing with my personnel, but if I see

somebody from another agency stepping off or doing
something that's questionable, I go to their
supervisor, and I have had to do that here.

Q. You also mentioned some statistical data

analysis---

A. Right.

Q. ---that you do to help locate operations?

A. Right.

Q. Do you ever share any of that analysis with the
Sheriff's Office?

A. No, sir, not that - well, if I'm asked, but

basically it's for our operations for the Highway
Patrol bases because I have people to report to.
I don't report to the sheriff or Roger Lloyd or
anyone else. I do all my data statistics to base

our operations for personnel - Highway Patrol

personnel .

 

 

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